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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                      *

       Plaintiff,                              *
                                                                      Case No. &56+/WPS
v.                                             *
                                                                      Under Seal
KATRINA ROBINSON,                              *

       Defendant.                              *

____________________________________________________________________________

                MOTION TO SEAL COMPLAINTAND AFFIDAVIT
_____________________________________________________________________________

       COMES NOW the United States of America, by and through D. Michael Dunavant, United

States Attorney, and Christopher E. Cotten, Assistant United States Attorney for the Western

District of Tennessee, and respectfully moves that this Honorable Court enter an order sealing the

complaint, along with the accompanying affidavit, in the above-styled case. In support of this

motion, the United States would show the following:

       1.      In February 2020, agents executed search warrants at the defendant’s business and

primary and secondary residences. The searches generated a fairly considerable amount of media

coverage because of the defendant’s status as a sitting State Senator, and it is therefore anticipated

that the charges in the complaint will do likewise.

       2.      The United States therefore requests that the complaint and affidavit be filed under

seal so as not to prematurely reveal the existence of the charges to the defendant or to the public

at large so that the defendant can be arrested safely and without incident. The United States will

move to unseal these documents once the defendant is arrested.
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        3.      The United States requests a partial unsealing so that copies of the complaint and

affidavit can be provided to other law enforcement officers to further the investigation and

execution of the arrest warrant.



                                           CONCLUSION

        For the foregoing reasons, the United States respectfully requests that the complaint and

affidavit be sealed as set forth herein.


                                                     Respectfully submitted,

                                                     D. MICHAEL DUNAVANT
                                                     United States Attorney


                                             By:     /s Christopher E. Cotten
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